Filing # 187213687 E-Filed 12/01/2023 04:56:17 PM



        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                 IN THE CIRCUIT/COUNTY COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT,
                            IN AND FOR SEMINOLE COUNTY, FLORIDA




                                                                                         L
        Eric A. Knapp
        Plaintiff                                                                Case #    2023CA004075




                                                                                       IA
                                                                                 Judge
        vs.




                           C
       VGW Holdings Limited




                         I
        Defendant



                II.



                      FFAMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of




                    O
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.




                   N
        ☐ $8,000 or less
        ☐ $8,001 - $30,000




                 U
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☒ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-

     *** E-FILED: GRANT MALOY, CLERK OF CIRCUIT COURT SEMINOLE COUNTY, FL 12/01/2023 04:56:15 PM.****
CIRCUIT CIVIL

☐ Condominium
☒ Contracts and indebtedness
☐ Eminent domain
☐ Auto negligence
☐ Negligence—other
       ☐ Business governance
       ☐ Business torts
       ☐ Environmental/Toxic tort
       ☐ Third party indemnification
       ☐ Construction defect
       ☐ Mass tort
       ☐ Negligent security




                                                          L
       ☐ Nursing home negligence
       ☐ Premises liability—commercial




                                                        IA
       ☐ Premises liability—residential
☐ Products liability




                  C
☐ Real Property/Mortgage foreclosure




                I
      ☐ Commercial foreclosure
      ☐ Homestead residential foreclosure




              F
      ☐ Non-homestead residential foreclosure
      ☐ Other real property actions




             F
☐Professional malpractice




           O
      ☐ Malpractice—business
      ☐ Malpractice—medical
      ☐ Malpractice—other professional




          N
☐ Other
      ☐ Antitrust/Trade regulation




        U
      ☐ Business transactions
      ☐ Constitutional challenge—statute or ordinance
      ☐ Constitutional challenge—proposed amendment
      ☐ Corporate trusts
      ☐ Discrimination—employment or other
      ☐ Insurance claims
      ☐ Intellectual property
      ☐ Libel/Slander
      ☐ Shareholder derivative action
      ☐ Securities litigation
      ☐ Trade secrets
      ☐ Trust litigation


COUNTY CIVIL

☐ Small Claims up to $8,000
☐ Civil
☐ Real property/Mortgage foreclosure
                                                -2-
 ☐ Replevins
 ☐ Evictions
       ☐ Residential Evictions
       ☐ Non-residential Evictions
 ☐ Other civil (non-monetary)

                                      COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes ☐ No ☒

         IV.   REMEDIES SOUGHT (check all that apply):
         ☒ Monetary;




                                                                               L
         ☒ Nonmonetary declaratory or injunctive relief;




                                                                             IA
         ☐ Punitive

         V.     NUMBER OF CAUSES OF ACTION: [ ]




                    C
         (Specify)




                  I
           5




                F
         VI.     IS THIS CASE A CLASS ACTION LAWSUIT?




               F
                 ☒ yes
                 ☐ no




             O
         VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?




            N
                 ☒ no
                 ☐ yes If “yes,” list all related cases by name, case number, and court.




          U
         VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
               ☒ yes
               ☐ no


         IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                 ☐ yes
                 ☒ no


 I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
 my knowledge and belief, and that I have read and will comply with the requirements of
 Florida Rule of Judicial Administration 2.425.

 Signature: s/ Dennis Wells                             Fla. Bar # 368504
                Attorney or party                                      (Bar # if attorney)

Dennis Wells                             12/01/2023
 (type or print name)                           Date

                                                 -3-
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M!$"&11#23#%/".#/".#1&/0#A@#D>BE#'AKGF#A:#F=<#4th                            ##### E>J#A@# ##################4#/7.74#TUTV7#
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        *F=<G#+?AGBE>#HBFBI<:D#DBCB?>G?J#DBFK>F<E4#
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                                #
                                                                      M*(0.9/34#!"'7#
                                                        HPA#$=<#'AGNAG>FBA:#$GKDF#'ACN>CJ#
                                                                  'AGNAG>FBA:#$GKDF#'<:F<G#
                                                                      STUV#*G>:R<#1FG<<F#
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                    &>H=#.<@<:E>:F#BD#=<G<;J#G<XKBG<E#FA#D<GL<#OGBFF<:#E<@<:D<D4#B@#>:J4#>:E#G<XK<DF#>#
        =<>GB:R4#B@#E<DBG<E4#FA#D>BE#'ACN?>B:F#A:#9?>B:FB@@DY#>FFAG:<J4#O=AD<#>EEG<DD#BD6#
        ######
                                                                           .<::BD#M<??D#
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        #
        OBF=B:#FO<:FJ#aTUb#E>JD#>@F<G#D<GLBH<#A@#F=BD#1KCCA:D#KNA:#JAK4#<\H?KDBL<#A@#F=<#E>J#A@#D<GLBH<4#




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>:E#FA#@B?<#F=<#AGBRB:>?#A@#JAKG#OGBFF<:#E<@<:D<D#>:E#G<XK<DF#@AG#=<>GB:R#OBF=#F=<#'?<Gc#A@#F=BD#
'AKGF#<BF=<G#;<@AG<#D<GLBH<#A:#9?>B:FB@@dD#/FFAG:<J#AG#BCC<EB>F<?J#F=<G<>@F<G7# # !@#JAK#@>B?#FA#EA#
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M!$"&11#23#%/".#/".#1&/0#A@#D>BE#'AKGF#A:#F=<# 4th                           ##### E>J#A@# ##################4#/7.74#TUT_7#
                                                                                             December
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#                                                                                       Grant Maloy
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                                                                   '!5!0#/'$!*"#"*6###               2023CA004075
                                                                   #
        &(!'#/7#8"/994#
        *:#;<=>?@#A@#=BCD<?@#>:E#>??#
        *F=<G#+?AGBE>#HBFBI<:D#DBCB?>G?J#DBFK>F<E4#
        #
                                            ########### #9?>B:FB@@4#            #           #    !"#$$%&'(&'$')*#*+,)#
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>0345B5>2457<!C0A7;!2<=!6?C854!4/0!1371760=!"260!&2<2@080<4!E3=03!;54/!4/0!2@300=!?17<!=2406!47!
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4/0!"260!&2<2@080<4!*A2<!2<=!"260!&2<2@080<4!E3=03!2<=!>0345BG!4/24!2AA!=2406!1371760=!5<!4/0!
"260!&2<2@080<4!E3=03!/2:0!C00<!2@300=!47!CG!4/0!1234506D!
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        G$-&;!K&(+!E-(*-'!&(!;+&%(!>67!,&D%!/$)1!(*+!<$)H+.(+,!($-&;!,).I+(J!
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